Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 1 of 22




         EXHIBIT A-75
BTS00031479
               Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 2 of 22




              BAM Management US Holdings Inc.
              Consolidated Financial Statements

              As of December 31, 2019 and for the Period from
              February 4, 2019 (Inception) through December 31, 2019
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 3 of 22




                                                     TABLE OF CONTENTS



                                                                                 Page No.

              Independent Auditor's Report                                         1-2

              Consolidated Balance Sheet                                            3

              Consolidated Statement of Operations                                  4

              Consolidated Statement of Stockholders' Equity                        5

              Consolidated Statement of Cash Flows                                  6

              Notes to Consolidated Financial Statements                          7 - 19
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 4 of 22




                                               INDEPENDENT AUDITOR'S REPORT

              Board of Directors
              BAM Management US Holdings Inc.
              San Francisco, California

              We have audited the accompanying consolidated financial statements of BAM Management US Holdings
              Inc. (a Delaware corporation) (the ''Company''), which comprise the consolidated balance sheet as of
              December 31, 2019, and the related consolidated statements of operations, stockholders' equity, and cash
              flows for the period from February 4, 2019 (inception) through December 31, 2019, and the related notes
              to the consolidated financial statements.

              Management's Responsibility for the Financial Statements

              Management is responsible for the preparation and fair presentation of these consolidated financial
              statements in accordance with accounting principles generally accepted in the United States of America;
              this includes the design, implementation, and maintenance of internal control relevant to the preparation
              and fair presentation of consolidated financial statements that are free from material misstatement,
              whether due to fraud or error.

              Auditor's Responsibility

              Our responsibility is to express an opinion on these consolidated financial statements based on our audit.
              We conducted our audit in accordance with auditing standards generally accepted in the United States of
              America. Those standards require that we plan and perform the audit to obtain reasonable assurance
              about whether the consolidated financial statements are free from material misstatement.

              An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in
              the consolidated financial statements. The procedures selected depend on the auditor's judgment,
              including the assessment of the risks of material misstatement of the consolidated financial statements,
              whether due to fraud or error. In making those risk assessments, the auditor considers internal control
              relevant to the entity's preparation and fair presentation of the consolidated financial statements in order
              to design audit procedures that are appropriate in the circumstances, but not for the purpose of expressing
              an opinion on the effectiveness of the entity's internal control. Accordingly, we express no such opinion.
              An audit also includes evaluating the appropriateness of accounting policies used and the reasonableness
              of significant accounting estimates made by management, as well as evaluating the overall presentation
              of the consolidated financial statements.

              We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for
              our audit opinion.




                                                                   1
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 5 of 22




              Opinion

              In our opinion, the consolidated financial statements referred to above present fairly, in all material
              respects, the financial position of BAM Management US Holdings Inc. as of December 31, 2019, and the
              results of their operations and their cash flows for the period from February 4, 2019 (inception) through
              December 31, 2019, in accordance with accounting principles generally accepted in the United States of
              America.

              Emphasis of Matter

              As discussed in Note 10 to the consolidated financial statements, on March 11, 2020, the World Health
              Organization declared the novel strain of coronavirus (COVID-19) a global pandemic and recommended
              containment and mitigation measures worldwide. The ultimate financial impact and duration of these
              events cannot be reasonably estimated at this time. Our opinion is not modified with respect to that
              matter.


                                                                 Armanino LLP
                                                                 ArmaninoLLP
                                                                 San Jose, California
              March 30, 2020




                                                                  2
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 6 of 22




                                               BAM Management US Holdings Inc.
                                                  Consolidated Balance Sheet
                                                     December 31, 2019



                                                                ASSETS
              Current assets
               Cash and cash equivalents                                                               $     4,252,628
               Digital assets held                                                                             136,219
               Prepaid expenses and other current assets                                                       312,747
               Customer funds receivable                                                                       179,317
               Customer custodial funds                                                                      6,217,882
                   Total current assets                                                                     11,098,793

              Property and equipment, net                                                                          16,641
              Security deposits                                                                                    13,695
              Restricted cash                                                                                     238,001

                   Total assets                                                                        $    11,367,130

                                           LIABILITIES AND STOCKHOLDERS' EQUITY
              Current liabilities
               Accounts payable                                                                        $       139,706
               Accrued expenses                                                                                381,714
               Customer funds payable                                                                        6,217,882
                   Total current liabilities                                                                 6,739,302

              Commitment and contingencies (Note 6)

              Stockholders' equity
               Preferred stock, $0.0001 par value, 100,000 shares authorized, 750 shares issued
                 and outstanding                                                                             7,461,102
               Common stock, $0.00001 par value, 10,000,000 shares authorized, 1,000 shares
                 issued and outstanding                                                                              -
               Accumulated deficit                                                                          (2,833,274)
                    Total stockholders' equity                                                               4,627,828

                   Total liabilities and stockholders' equity                                          $    11,367,130




                        The accompanying notes are an integral part of these consolidated financial statements.
                                                                 3
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 7 of 22




                                             BAM Management US Holdings Inc.
                                            Consolidated Statement of Operations
                         For the Period from February 4, 2019 (inception) through December 31, 2019



              Revenue                                                                                  $      254,183

              Operating costs and expenses                                                                  3,031,916

              Loss from operations                                                                         (2,777,733)

              Other expense
               Loss on digital assets                                                                          (19,697)
                 Total other expense                                                                           (19,697)

              Net loss                                                                                 $   (2,797,430)




                         The accompanying notes are an integral part of these consolidated financial statements.
                                                                  4
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 8 of 22




                                            BAM Management US Holdings Inc.
                                       Consolidated Statement of Stockholders' Equity
                        For the Period from February 4, 2019 (inception) through December 31, 2019


                                                                                                            Retained
                                                                                                            Earnings
                                                    Common Stock           Preferred Stock Series A       (Accumulated
                                                Shares        Amount       Shares           Amount           Deficit)             Total

         Balance, February 4, 2019
          (inception)                                  -   $           -            -   $             -   $            -    $             -

         Issuance of common stock at
           $0.0001 per share                       1,000               -            -                 -                -                  -

         Issuance of Series A preferred stock
           at $10,000 per share, net of
           issuance costs of $39,398                   -               -         750        7,461,102                  -        7,461,102

         Preferred stock dividend                      -               -            -                 -         (35,844)          (35,844)

         Net loss                                      -               -            -                 -       (2,797,430)       (2,797,430)

         Balance, December 31, 2019                1,000   $           -         750    $   7,461,102     $   (2,833,274) $ 4,627,828




                      The accompanying notes are an integral part of these consolidated financial statements.
                                                               5
BTS00031479
                     Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 9 of 22




                                             BAM Management US Holdings Inc.
                                            Consolidated Statement of Cash Flows
                         For the Period from February 4, 2019 (inception) through December 31, 2019


              Cash flows from operating activities
               Net loss                                                                                $    (2,797,430)
               Adjustments to reconcile net loss to net cash used in operating activities
                  Depreciation                                                                                     1,984
                  Provision for transaction losses                                                                70,000
                  Unrealized loss on digital assets                                                               19,697
                  Changes in operating assets and liabilities
                   Customer custodial funds                                                                 (6,217,882)
                   Digital assets held                                                                        (155,916)
                   Prepaid expenses and other current assets                                                  (312,747)
                   Customer funds receivable                                                                  (179,317)
                   Accounts payable                                                                            139,706
                   Accrued expenses                                                                            275,870
                   Customer funds payable                                                                    6,217,882
              Net cash used in operating activities                                                         (2,938,153)
              Cash flows from investing activities
               Purchase of property and equipment                                                                 (18,625)
               Security deposits                                                                                  (13,695)
              Net cash used in investing activities                                                               (32,320)
              Cash flows from financing activities
               Proceeds from issuance of Series A preferred stock, net of issuance costs                     7,461,102
              Net cash provided by financing activities                                                      7,461,102

              Net increase in cash, cash equivalents and restricted cash                                     4,490,629

              Cash, cash equivalents and restricted cash, beginning of period                                           -

              Cash, cash equivalents and restricted cash, end of period                                $     4,490,629


              Cash, cash equivalents and restricted cash consisted of the following:
               Cash and cash equivalents                                                               $     4,252,628
               Restricted cash                                                                                 238,001

                                                                                                       $     4,490,629




                        The accompanying notes are an integral part of these consolidated financial statements.
                                                                 6
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 10 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              1.    NATURE OF OPERATIONS

                    BAM Management US Holdings Inc. (the "Company"), a Delaware corporation, commenced
                    operations on February 4, 2019 ("inception") and is headquartered in San Francisco, California.

                    In September 2019, the Company, through its wholly-owned subsidiary BAM Trading Services,
                    Inc., launched Binance.US, a digital asset trading platform for the United States market, through
                    a licensing arrangement with Binance Holdings Limited, which operates a global digital asset
                    trading platform under the name Binance.com (see Note 9). Binance.US is powered by matching
                    engine and wallet technologies licensed from Binance Holdings Limited and provides secure and
                    reliable digital asset trading and a hosted wallet service to its users. As of December 31, 2019,
                    Binance.US supported 29 digital assets and 50 trading pairs, with plans for adding more digital
                    assets in the future.

              2.    SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

                    Basis of accounting and financial statement presentation

                    The Company's financial statements have been prepared using accounting principles generally
                    accepted in the United States of America ("U.S. GAAP").

                    Principles of consolidation

                    The accompanying consolidated financial statements include the accounts of the Company and
                    its wholly-owned subsidiaries. All intercompany balances and transactions have been eliminated.

                    Risks and uncertainties

                    The Company's future results of operations involve a number of risks and uncertainties that could
                    have a material adverse affect on its business, prospects, financial condition, cash flows, liquidity
                    and results of operations. The risk factors set forth below are cautionary statements identifying
                    important factors that could cause our actual results for various financial reporting periods to
                    differ materially from those expressed in any forward-looking statements made by or on the
                    Company's behalf.

                    The Company's business is dependent on the availability and use of digital assets, and their
                    respective protocol networks. Although many governments have begun to license or have
                    otherwise announced their intention to regulate digital asset businesses, digital assets are not
                    currently considered legal tender in most jurisdictions worldwide, including the United States.




                                                                 7
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 11 of 22




                                            BAM Management US Holdings Inc.
                                          Notes to Consolidated Financial Statements
                                                     December 31, 2019

              2.    SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

                    Risks and uncertainties (continued)

                    Federal, state or local governments may restrict the use and exchange of digital assets in the
                    future. There is also uncertainty regarding the current and future accounting, tax, and legal
                    treatment, as well as regulatory requirements relating to digital assets or transactions utilizing
                    digital assets. There is currently no authoritative guidance on the accounting for digital assets.
                    Governmental regulations, or any adverse accounting, tax, legal or regulatory treatment of digital
                    assets or transactions could materially and adversely affect the manner in which the Company
                    conducts its business and could result in heightened regulation, oversight, increased costs and
                    potential litigation.

                    Digital assets and their respective protocol networks are exposed to risks due to fraud,
                    technological glitches, hackers or malware and various law enforcement and regulatory
                    interventions. The loss of digital assets, the Company's ability to manage fraud, or the application
                    of new laws and regulations, could materially and adversely, affect its reputation, business,
                    financial condition, prospects, liquidity, and/or results of operations.

                    The Company's revenues are primarily derived from transaction fees on sales and purchases of
                    digital assets. The market price of digital assets has been and may continue to be volatile, which
                    could materially and adversely affect the Company's results of operations.

                    Use of estimates

                    The preparation of consolidated financial statements in accordance with U.S. GAAP requires
                    management to make estimates and assumptions that affect the reported amounts of assets and
                    liabilities, disclosures of contingent assets and liabilities at the date of the consolidated financial
                    statements, and the reported amounts of revenues and expenses during the reporting period.
                    These estimates include, but are not limited to, digital asset valuation, provision for transaction
                    losses, reserves against receivables, and accounting for income taxes. To the extent that there are
                    material differences between these estimates and results, the Company's consolidated financial
                    statements will be affected.

                    Cash and cash equivalents

                    The Company considers all highly liquid financial instruments purchased and cash on hand that
                    is not restricted as to withdrawal with original maturities of three months or less to be cash and
                    cash equivalents.

                    Restricted cash

                    The Company has restricted cash deposits at a financial institution related to an irrevocable
                    standby letter of credit in connection with an office lease arrangement.




                                                                  8
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 12 of 22




                                            BAM Management US Holdings Inc.
                                          Notes to Consolidated Financial Statements
                                                     December 31, 2019

              2.    SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

                    Digital assets held

                    The Company enters into transactions with users that are denominated in digital assets and earns
                    transaction fee revenue denominated in digitals assets which it holds in inventory. The Company
                    assigns costs to digital asset transactions in its inventory on a first-in, first-out basis. The
                    Company does not hold digital assets for speculative purposes.

                    As of December 31, 2019, all Company owned digital assets were held in custody accounts with
                    Binance Holdings Limited (see Note 9). The Company accounts for its digital assets held under
                    custody with Binance Holdings Limited as receivables, which is presented as digital assets held
                    in the accompanying consolidated balance sheet. The Company initially records digital asset
                    receipts at cost and subsequently marks its digital asset holdings (that have an active market) to
                    market at each reporting date. Current fair value is determined based on quoted market exchange
                    prices as of the reporting date. Unrealized gains and losses arising from changes in the fair value
                    of digital assets, as well as gains and losses realized from differences in prices in which digital
                    assets are purchased compared to digital assets sold, are recognized net, in loss on digital assets
                    in the accompanying consolidated statement of operations.

                    For the period from February 4, 2019 (inception) through December 31, 2019, the Company
                    recognized a net unrealized loss which consisted of $19,697 of unrealized loss related to digital
                    assets held. There were no realized gains or losses for the period from February 4, 2019
                    (inception) through December 31, 2019.

                    Property and equipment

                    Property and equipment are stated at cost, less accumulated depreciation.

                    Depreciation of property and equipment is computed using the straight-line method over the
                    following estimated useful lives:

                     Computer equipment                                                                 3 years
                     Software                                                                           3 years

                    Expenditures for repairs and maintenance are expensed as incurred. Upon disposition, the cost
                    and related accumulated depreciation are removed from the accounts, and the resulting gain or
                    loss is recognized or charged to other expense in the accompanying consolidated statement of
                    operations.




                                                                9
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 13 of 22




                                            BAM Management US Holdings Inc.
                                          Notes to Consolidated Financial Statements
                                                     December 31, 2019

              2.    SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

                    Impairment of long-lived assets

                    The Company evaluates the carrying value of long-lived assets on an annual basis, or more
                    frequently whenever the circumstances indicate a long-lived asset may be impaired. When
                    indicators of impairment exist, the Company estimates future undiscounted cash flows
                    attributable to such assets. In the event cash flows are not expected to be sufficient to recover the
                    recorded value of the assets, the assets are written down to their estimated fair value. There were
                    no asset impairments for the period from February 4, 2019 (inception) through December 31,
                    2019.

                    Customer custodial funds, Customer funds receivable and Customer funds payable

                    Customer funds receivable consist of funds advanced to customer accounts upon initiation of an
                    ACH or debit card deposit and arise due to the time it takes to settle the deposit.

                    Customer funds payable arise due to the time it takes to settle a customer sell transaction. When
                    a customer sells digital assets using their bank account or internal payment methods, there is a
                    clearing period before the cash is settled. These funds are treated as a payable until the clearing
                    period closes. During this clearing period, the associated legal tender held by the Company is
                    segregated from Company-owned funds and separately classified as customer custodial funds in
                    the accompanying consolidated balance sheet.

                    Fair value measurements

                    The Company applies fair value accounting for all digital and financial assets and liabilities. The
                    Company defines fair value as the price that would be received from selling an asset or paid to
                    transfer a liability in an orderly transaction between market participants at the measurement date.
                    Fair value is estimated by applying the following hierarchy, which prioritizes the inputs used to
                    measure fair value into three levels and bases the categorization within the hierarchy upon the
                    lowest level of input that is available and significant to the fair value measurement:
                       Level 1 - Unadjusted quoted prices in active markets that are accessible at the measurement
                        date for identical, unrestricted assets or liabilities.
                       Level 2 - Observable inputs other than quoted prices in active markets for identical assets and
                        liabilities, quoted prices for identical or similar assets or liabilities in inactive markets, or
                        their inputs that are observable or can be corroborated by observable market data for
                        substantially the full term of the assets or liabilities.
                       Level 3 - Inputs that are generally unobservable and typically reflect management's estimate
                        of assumptions that market participants would use in pricing the asset or liability.




                                                                 10
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 14 of 22




                                            BAM Management US Holdings Inc.
                                          Notes to Consolidated Financial Statements
                                                     December 31, 2019

              2.    SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

                    Fair value measurements (continued)

                    The fair value of digital asset denominated assets and liabilities are based on published exchange
                    rates, which are determined to be "Level 1" inputs, as the digital assets are traded in active
                    exchange markets. The Company monitors the exchange rates against various third-party
                    exchanges.

                    Revenue recognition

                    The Company recognizes revenue when it transfers control of promised goods or services to its
                    customers in an amount that reflects the consideration to which it expects to be entitled to in
                    exchange for those goods or services. The Company derives substantially all of its revenue from
                    digital asset transaction services, where users can buy and sell digital assets for an exchange
                    service fee. The Company uses the following steps to determine revenue recognition:
                       Identification of the contract, or contracts, with the customer
                       Identification of the performance obligations in the contract
                       Determination of the transaction price
                       Allocation of the transaction price to the performance obligations in the contract
                       Recognition of the revenue when, or as, the Company satisfies a performance obligation

                    The service (performance obligation) is considered to be rendered and the risk of loss has been
                    transferred to the customer upon the transfer of the digital assets to the customer or receipt of
                    digital assets purchased from the customer.

                    Digital asset transactions occur in multiple time zones, some of which differ from the time zone
                    of the Company's headquarter location. The Company uses coordinated universal time ("UTC")
                    as time basis for revenue recognition cut-off.

                    Transaction losses

                    The Company is exposed to losses primarily due to fraudulent payment methods used to purchase
                    digital assets. The Company establishes a provision for estimated losses incurred as of the
                    reporting date, including those of which the Company has not yet be notified. The estimate is
                    based on historical loss payment patterns. The Company recorded a provision for transaction
                    losses of $70,000 as of December 31, 2019, which is included in accrued expenses in the
                    accompanying consolidated balance sheet.




                                                                 11
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 15 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              2.    SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (continued)

                    Income taxes

                    The Company accounts for income taxes using the asset and liability method whereby deferred
                    tax asset and liability account balances are determined based on temporary differences between
                    the financial statement and tax bases of assets and liabilities using enacted tax rates in effect for
                    the year in which the differences are expected to affect taxable income. A valuation allowance is
                    established when management estimates that it is more likely than not that deferred tax assets
                    will not be realized. Realization of deferred tax assets is dependent upon future pretax earnings,
                    the reversal of temporary differences between book and tax income, and the expected tax rates in
                    future periods.

                    The Company is required to evaluate the tax positions taken in the course of preparing its tax
                    returns to determine whether tax positions are more likely than not of being sustained by the
                    applicable tax authority. Tax benefits of positions not deemed to meet the "more-likely-than-not"
                    threshold would be recorded as a tax expense in the current year. The amount recognized is
                    subject to estimate and management judgment with respect to the likely outcome of each
                    uncertain tax position. The amount that is ultimately sustained for an individual uncertain tax
                    position or for all uncertain tax positions in the aggregate could differ from the amount that is
                    initially recognized. It is the Company's practice to recognize interest and penalties related to
                    income tax matters in income tax expense.

                    For federal tax purposes, digital asset transactions are treated on the same tax principles as
                    property transactions. The Company recognizes a gain or loss when digital assets are exchanged
                    for other property, in the amount of the difference between the fair market value of the property
                    received and the tax basis in the digital asset. Receipts of digital assets in exchange for goods or
                    services are included in taxable income at the fair market value on the date of receipt.

                    Concentration of credit risk

                    Financial instruments that potentially subject the Company to a concentration of credit risk
                    consist of cash and cash equivalents, restricted cash and digital assets held. Cash and cash
                    equivalents and restricted cash are deposited at high quality financial institutions. Periodically,
                    such balances may be in excess of federally insured limits. To date, the Company has not
                    incurred any losses on its deposits of cash and cash equivalents or restricted cash.

              3.    FAIR VALUE MEASUREMENTS

                    The following table sets forth by level, within the fair value hierarchy, the Company's assets at
                    fair value as of December 31, 2019:

                                                                  Level 1         Level 2           Level 3       Fair Value

                     Digital assets                           $    136,219    $             -   $             -   $   136,219




                                                                  12
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 16 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              4.    PROPERTY AND EQUIPMENT

                    Property and equipment consisted of the following as of December 31, 2019:

                     Computer equipment                                                              $        13,625
                     Software                                                                                  5,000
                                                                                                              18,625
                     Accumulated depreciation and amortization                                                (1,984)

                                                                                                     $        16,641

                    Depreciation expense was $1,984 for the period from February 4, 2019 (inception) through
                    December 31, 2019.

              5.    ACCRUED EXPENSES



                    Accrued expenses consisted of the following as of December 31, 2019:

                     Accrued legal expenses                                                          $      146,334
                     Provision for transaction losses                                                        70,000
                     Franchise fee payable                                                                  100,486
                     Accrued bank expenses                                                                   28,300
                     Dividend payable                                                                        35,844
                     Taxes payable                                                                              750

                                                                                                     $      381,714

              6.    COMMITMENTS AND CONTINGENCIES

                    Customer digital asset wallets

                    Under a Wallet Custody Agreement (see Note 9), Binance Holdings Limited (BHL) has custody
                    and control of customers' private keys, or components to cryptographic signatures necessary to
                    transfer associated customer digital assets. For security reasons, BHL uses consolidated
                    addresses to pool customer digital assets but maintains separate ledger entries to designate each
                    customer's digital asset balance.




                                                               13
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 17 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              6.    COMMITMENTS AND CONTINGENCIES (continued)

                    Customer digital asset wallets (continued)

                   The Company has committed to securely store all digital assets it holds on behalf of customers.
                   As such, the Company may be liable to its customers for losses arising from theft or loss of
                   customer private keys. The Company has no reason to believe it will incur any expense
                   associated with such potential liability because (i) the Company has no known or historical
                   experience of claims to use as a basis of measurement, (ii) BHL accounts for and continually
                   verifies the amount of digital assets within its control, and such verification is subject to audit by
                   the Company under the terms of the Wallet Custody Agreement, (iii) BHL has established
                   security around custodial private keys to minimize the risk of theft or loss, and (iv) the
                   aforementioned Wallet Custody Agreement with BHL contains an indemnification provision that
                   provides for indemnification of the Company for any losses as a result of BHL breach of duty.
                   Therefore, the Company has not recorded a liability as of December 31, 2019 for such potential
                   losses. As of December 31, 2019, the aggregate U.S. Dollar value of digital assets held in
                   customer wallets was $46 million.

                    Lease commitments

                    For the period from February 4, 2019 (inception) through December 31, 2019, the Company
                    entered into month-to-month lease arrangements and incurred rent expense totaling $35,199.

                    In November 2019, the Company entered into an operating lease agreement for office space in
                    San Francisco, California. The lease commenced in January 2020 and expires in May 2023. The
                    monthly base rent under the lease agreement is approximately $36,300 for the first year and
                    increases by 3% annually thereafter over the lease term.

                    The scheduled minimum lease payments under the lease terms are as follows:

                           Year ending December 31,

                                      2020                                                              $       435,610
                                      2021                                                                      448,678
                                      2022                                                                      462,139
                                      2023                                                                      198,333

                                                                                                        $     1,544,760

                    Legal proceedings

                    The Company could be subject to various legal proceedings and claims arising in the ordinary
                    course of business. Although occasional adverse decisions or settlements may occur,
                    management believes that the final disposition of such matters will not have a material adverse
                    effect on the Company's business, financial position, results of operations or cash flows. The
                    Company is not aware of any existing or threatened proceedings or claims that could have a
                    material impact on its financial position or results of operations.


                                                                 14
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 18 of 22




                                            BAM Management US Holdings Inc.
                                          Notes to Consolidated Financial Statements
                                                     December 31, 2019

              7.    STOCKHOLDERS' EQUITY

                    Common stock

                    The Company is authorized to issue up to 10,000,000 shares of common stock, par value of
                    $0.00001 per share. As December 31, 2019, 1,000 shares of authorized common stock were
                    issued and outstanding. Holders of each share of common stock have one vote for each share
                    held.

                    Preferred stock

                    The Company is authorized to issue up to 100,000 shares of preferred stock, $0.00001 par value
                    per share, of which 1,500 shares have been designated as Series A preferred stock.

                    A summary of the preferred stock shares authorized, issued, and outstanding is as follows as of
                    December 31, 2019:

                                                                                       Shares Issued
                                                   Original Issue      Shares               and             Liquidation
                                                       Price          Designated        Outstanding         Preference

                        Series A                  $        10,000             1,500               750   $     7,500,500

                    A complete description of the rights, preferences, privileges and restrictions of the Series A
                    preferred stock are in the Amended and Restated Certificate of Incorporation.
                        Liquidation preference - In the event of any liquidation, dissolution, or winding up of the
                         Company, either voluntary or involuntary, the holders of the then outstanding Series A
                         preferred stock, are entitled to receive an amount equal to the original issue price per share,
                         plus any accruing dividends accrued but unpaid thereon, whether or not declared, and in
                         preference to any distributions made to the holders of common stock or other junior stock. If
                         the assets and funds distributed among the holders of the Series A preferred stock are
                         insufficient to permit payment to such holders of the full preferential amount, then the entire
                         assets and funds of the Company legally available for distribution shall be distributed ratably
                         among the holders of the Series A preferred stock. After the full preferential distribution to
                         holders of Series A preferred stock, payments and distributions shall be paid to the holders of
                         common stock and other junior stock, if any, pro rata based on the number of shares held by
                         each such holder.




                                                                 15
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 19 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              7.    STOCKHOLDERS' EQUITY (continued)

                    Preferred stock (continued)
                       Dividends - The holders of Series A preferred stock, in preference to the holders of common
                        stock or other junior stock, are entitled to receive cumulative dividends, whether or not
                        declared by the Board of Directors. Dividends shall accrue at 2% per annum on the sum of the
                        Series A original issue price, initially $10,000, subject to adjustment for stock splits, stock
                        dividends or similar transactions. and the amount of any previously accrued and unpaid
                        dividends. To the extent not paid, dividends on the Series A preferred stock shall compound
                        quarterly (on March 31, June 30, September 30 and December 31), whether or not declared.
                        Such dividends may be paid in cash out of legally available funds or in additional shares of
                        Series A preferred stock.
                       Redemption - The Company, at the election of the Board of Directors, may redeem all or part
                        of the outstanding shares of the Series A preferred stock at a redemption price equal to the
                        Series A preferred stock original issue price per share, together with all accrued and unpaid
                        dividends, whether or note declared, to and including the redemption date ("Series A
                        Redemption Price). Such notice of redemption may only be made if the Company, on a
                        consolidated basis, for the 12 consecutive month period ending on the last day of the month
                        immediately prior to such notice, has income before interest, taxes, depreciation and
                        amortization of not less than $2 million, which shall be calculated from the Company's
                        regularly prepared consolidated financial statements.
                        At any time after the closing of a qualified public offering, upon the delivery of written
                        notice, the holders of a majority of the Series A preferred stock may require the Company to
                        redeem all or any portion of their then outstanding Series A preferred stock at the Series A
                        Redemption Price. A qualified public offering shall mean the close of the sale of shares of
                        common stock to the public at a price of at least $10,00 per share, in a firm-commitment
                        underwritten public offering pursuant to an effective registration statement under the
                        Securities Act of 1933, as amended, following which such common stock shall be listed for
                        trading on a national securities exchange, and resulting in at least $50 million of gross
                        process, net of underwriting discount and commissions.
                       Voting - The holders of the Series A preferred stock shall have no voting rights, except in the
                        case of certain protective provisions.
                       Conversion - Series A preferred stock shall not be convertible.

              8.    INCOME TAXES

                    The Company incurred $750 in state income tax for the period from February 4, 2019 (inception)
                    through December 31, 2019, which is included in operating costs and expenses in the
                    accompanying consolidated statement of operations.




                                                                16
BTS00031479
                   Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 20 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              8.    INCOME TAXES (continued)

                    Significant components of the Company's deferred income tax assets and liabilities are as follows
                    as of December 31, 2019:

                     Deferred tax assets
                       Net operating losses                                                           $      627,961
                       Other                                                                                  27,659
                        Total current                                                                        655,620
                       Valuation allowance                                                                  (655,620)

                           Total net deferred tax asset                                               $              -

                    The Company assesses the available positive and negative evidence to estimate whether
                    sufficient future taxable income will be generated to permit use of the existing deferred tax
                    assets. A significant piece of objective negative evidence is the cumulative earnings or losses
                    incurred over a three-year period. This objective evidence limits the ability to consider other
                    subjective evidence such as our projections for future growth. On the basis of this evaluation, as
                    of December 31, 2019, the Company determined that its federal and state net deferred tax assets
                    of approximately $656,000 are subject to full valuation allowance as it is more likely than not
                    that the net deferred tax assets will be not be realized.

                    As of December 31, 2019, the differences between income taxes expected at the U.S. Federal
                    statutory income tax rate of 21% and the reported income tax expense are primarily related to
                    state taxes, net of federal benefit, various permanent items, and change in federal and state
                    valuation allowances.

                    As of December 31, 2019, the Company had federal and state net operating losses of
                    approximately $2,679,000 and $935,000, respectively. The Company does not expect to fully
                    utilize these federal and state net operating loss carryforwards on a stand-alone or consolidated
                    (combined) basis. The federal net operating losses have an indefinite carryover period. The state
                    net operating loss carryforwards, if not utilized, will expire in 2039.

                    As of December 31, 2019, the Company had no unrecognized tax benefits. The Company does
                    not expect any material changes to its unrecognized tax benefits within the next twelve months.
                    As a result, the Company did not recognize any interest and penalties related to uncertain tax
                    positions for the period from February 4, 2019 (inception) through December 31, 2019.

                    The Company is filing C Corporation federal and state corporation income and franchise tax
                    returns in the United States on the consolidated or combined basis. The Company's 2019 tax
                    returns are subject to examination by federal and state taxing authorities.




                                                               17
BTS00031479
                    Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 21 of 22




                                            BAM Management US Holdings Inc.
                                          Notes to Consolidated Financial Statements
                                                     December 31, 2019

              8.     INCOME TAXES (continued)

                     The Company's transactions with a related foreign affiliate are subject to transfer pricing
                     considerations. Generally, a transfer price is the price charged between related parties in an
                     intercompany transaction. Transfer prices affect the allocation of taxable income across national
                     tax jurisdictions. The Company is currently in the process of conducting its United States
                     transfer pricing study (the "Study") with respect to its foreign affiliates' intercompany
                     transactions. The Company expects to complete its Study for the initial year of operations on or
                     before the extended due date of the U.S. corporation income tax return. The results of the Study,
                     based on its initial estimates, are not expected to have significant or material impact on the initial
                     year of operations.

              9.     RELATED PARTY TRANSACTIONS

                     The Company has entered into certain agreements with Binance Holdings Limited (aka
                     "Binance"), an entity which is affiliated with the Company's sole shareholder. The agreements
                     relate to the licensing and support of services as follows:
                        Software License Agreement - Whereas Binance owns a digital currency trading platform
                         which it operates in multiple countries, Binance has granted the Company a worldwide,
                         nonexclusive, perpetual, irrevocable, non-transferable, fully paid-up, royalty-free license to
                         the licensed software in order to allow the Company to operate a digital currency trading
                         platform in the U.S. market.
                        Master Services Agreement - This agreement dictates the terms of use and access in relation
                         to the licensed software. Additionally, it denotes the hosting and support services which will
                         be offered by Binance to the Company and the Company's end users as well as the
                         development and implementation of Company specific enhancements.
                        Trademark License Agreement - Binance has granted the Company a nonexclusive, non-
                         transferable, non-sublicensable, perpetual, irrevocable, royalty-free, fully paid-up, worldwide
                         license to use certain trademarks owned by Binance.
                        Wallet Custody Agreement - The Company selected Binance to serve as a custodian to the
                         Company with respect to the digital assets in any custody account. This agreement specifies
                         the terms of the relationship the Company will have with the custodian.

                     There were no expenses incurred or obligations due for the period from February 4, 2019
                     (inception) through December 31, 2019 related to these services

              10.    SUBSEQUENT EVENTS

                     The Company has evaluated subsequent events through March 30, 2020, the date the
                     consolidated financial statements were available to be issued.




                                                                  18
BTS00031479
                    Case 1:23-cv-01599-ABJ Document 19-11 Filed 06/06/23 Page 22 of 22




                                           BAM Management US Holdings Inc.
                                         Notes to Consolidated Financial Statements
                                                    December 31, 2019

              10.    SUBSEQUENT EVENTS (continued)

                     On March 11, 2020, the World Health Organization declared the novel strain of coronavirus
                     (COVID-19) a global pandemic and recommended containment and mitigation measures
                     worldwide. The COVID-19 outbreak in the United States has caused business disruption through
                     mandated and voluntary closings of businesses and shelter in place orders and resulted in market
                     instability. While the disruption is currently expected to be temporary, there is considerable
                     uncertainty around the duration of the closings and shelter in place orders. As of the date the
                     financial statements were available to be issued, the Company has experienced minimal
                     operational effects due to being a decentralized software platform in a decentralized market.
                     However, due to the widespread uncertainty over the macroeconomic factors and sovereign
                     monetary policies which could impact consumer demand for our services, the financial impact
                     cannot be reasonably estimated at this time.




                                                               19
